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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


 In re Dealer Management Systems Antitrust
 Litigation, MDL 2817                                   No. 1:18-CV-00864

 This document relates to:
                                                        Hon. Robert M. Dow, Jr.
 Authenticom, Inc. v. CDK Global, LLC et al.,
 Case No. 1:18-cv-00868 (N.D. Ill.)                     Magistrate Judge Jeffrey T. Gilbert



DECLARATION OF BRIAN T. ROSS IN SUPPORT OF REYNOLDS’S RESPONSE TO
          (Dkt. 1231) PLAINTIFFS’ MOTION FOR SANCTIONS

       I, Brian T. Ross, pursuant to 28 U.S.C. § 1746, declare as follows. I am a partner with the

law firm of Gibbs & Bruns, LLP in Houston, Texas. I respectfully submit this declaration in

support of Defendant The Reynolds and Reynolds Company Response to [Dkt. 1231] Plaintiffs’

Motion for Sanctions. All of the documents attached to this Declaration and identified below

(Exhibits 1 – 16), are true and correct copies of the identified documents and have been designated,

as appropriate, under the Second Amended Agreed Confidentiality Order in this case (Dkt. 650).

1.     Attached as Exhibit 1 is a true and correct copy of a May 21, 2010 letter from Lisa B.

Kopchik of the FTC to The Reynolds and Reynolds Company.

2.     Attached as Exhibit 2 is a true and correct copy of a May 12, 2014 letter from Lisa B.

Kopchik of the FTC to counsel for Reynolds.

3.     Attached as Exhibit 3 is a true and correct copy of a forwarded copy of a July 9, 2015

email from Michael Cohen (counsel for Reynolds) to Geoffrey Green of the FTC.

4.     Attached as Exhibit 4 is a true and correct copy of an April 14, 2015 transmittal letter from

Michael Cohen (counsel for Reynolds) to Lisa B. Kopchik of the FTC.
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5.     Attached as Exhibit 5 is a true and correct copy of a Kettering, Ohio Police file for a theft

that occurred on February 4, 2015, Case No. 2015-5503.

6.     Attached as Exhibit 6 is a true and correct copy of an email exchange produced by

Reynolds in this MDL, with the beginning bates number REYMDL00108182.

7.     Attached as Exhibit 7 is a true and correct copy of a January 19, 2021 Second

Supplemental Response to the CID issued by the FTC, which was provided to MDL Plaintiffs on

that same date.

8.     Attached as Exhibit 8 is a true and correct copy of an April 6, 2015 letter from Robert

Schaefer of Reynolds to Steven Cottrell of Authenticom, which was produced by Reynolds in this

MDL, with the bates number REYMDL00025310.

9.     Attached as Exhibit 9 is a true and correct copy of an email exchange produced by

Authenticom in this MDL, with the beginning bates number AUTH_00003012.

10.    Attached as Exhibit 10 is a true and correct copy of an FTC Civil Investigative Demand

to Reynolds, issued on or about June 21, 2017, which was produced by Reynolds in this MDL,

with the beginning bates number REYMDL00037470.

11.    Attached as Exhibit 11 is a true and correct copy of a June 27, 2016 email from Dane

Brown of Authenticom to Will Farley of Reynolds, which was produced by Authenticom in this

MDL, with the bates number AUTH_00003375.

12.    Attached as Exhibit 12 is a true and correct copy of a June 24, 2016 letter from Dane

Brown of Authenticom to Jonathan Emmanual of Reynolds, which was produced by Reynolds in

this MDL, with the beginning bates number REYMDL_00025340.

13.    Attached as Exhibit 13 is a true and correct copy of an email exchange produced by

Reynolds in this MDL, with the beginning bates number REYMDL00068498.
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14.    Attached as Exhibit 14 is a true and correct copy of an email exchange produced by

Reynolds in this MDL (with the redactions shown), with the beginning bates number

REYMDL00690246.

15.    Attached as Exhibit 15 is a true and correct copy of a March 14, 2021 print-out of an article

on Lifewire.com titled 33 Best Free File Shredder Software Programs, March 2, 2021 (last visited

March 14, 2021).

16.    Attached as Exhibit 16 is a true and correct copy of an email exchange produced by CDK

in this MDL, with the beginning bates number CDK-2053728.

I declare under penalty of perjury that the foregoing is true and correct to the best of my knowledge

and belief.



 Dated: March 16, 2021                                  /s/ Brian T. Ross
                                                        Brian T. Ross
